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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION




  ------------------------------------------------------ .
  UNITED STATES OF AMERICA                               :
                                                         :
                                             Plaintiff, : CASE NO. 5:07 CR 563-001
                                                         :
                           -vs-                          :
                                                         : ORDER
                                                         :
  ERVIN THOMAS,                                          :
                                                         :
                                          Defendant. :
  ------------------------------------------------------ :


UNITED STATES DISTRICT JUDGE LESLEY WELLS


         This Court rendered judgment against Ervin Thomas on 21 July 2009 and,

pursuant to a plea agreement, found him guilty of conspiracy to distribute and

possession with intent to distribute cocaine in violation of 21 U.S.C. §§ 841(a)(1),

(b)(1)(C) & 846, and ordered him to serve a period of 121 months incarceration on each

Count 1, 5 and 15 of the Indictment to run concurrently. (Docs. 342, 345). Ervin

Thomas also received 10 years of supervised release on Count 1, and 5 years on

Counts 5 and 15, to run concurrently.

         On 10 August 2009 Ervin Thomas filed a notice of appeal with the Sixth Circuit

Court of Appeals. (Doc. 347). On 29 July 2009 the Defendant, through his trial

attorney, Richard Drucker, filed the herein motion to appoint counsel for his appeal and

to waive filing fees and costs due to his indigency. (Doc. 346).
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       With regard to Ervin Thomas’ request for appointment of appellate counsel from

this Court and the request by Mr. Drucker for an extension of the deadline to file the

appeal, the Court notes that pursuant to the Sixth Circuit’s recent Rule 101, Mr.

Thomas must direct his request to the Sixth Circuit. Rule 101(a) explains that, “[t]rial

counsel in criminal cases, whether retained or appointed by the district court, is

responsible for the continued representation of the client on appeal until specifically

relieved by this [the Sixth Circuit] Court.” Accordingly, the District Court will deny the

Defendant’s request as this Court lacks jurisdiction to either appoint counsel for Mr.

Thomas or to grant Mr. Drucker’s request for an extension of time to file.

       Further, Ervin Thomas requests to proceed on appeal without prepayment of

fees. The Defendant has not filed the requisite forms nor submitted substantiating

affidavit evidence for his request. Accordingly, the Court cannot grant Mr. Thomas’

request to proceed without prepayment of fees until the proper forms are placed before

the Court.




      IT IS SO ORDERED.

                                             /s/Lesley Wells
                                           UNITED STATES DISTRICT JUDGE



Date: 17 September 2009




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